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 2   State Bar No. 11479
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     Robert_O’Brien@fd.org
 6
     Attorney for Austin James Aulicino
 7
 8                               UNITED STATES DISTRICT COURT

 9                                    DISTRICT OF NEVADA

10
     UNITED STATES OF AMERICA,                           Case No. 2:17-cr-00393-APG-EJY
11
                    Plaintiff,                               STIPULATION TO CONTINUE
12                                                             REVOCATION HEARING
            v.
                                                                    (First Request)
13
     AUSTIN JAMES AULICINO,
14
                    Defendant.
15
16
            IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.
17
     Trutanich, United States Attorney, and Brian Whang, Assistant United States Attorney,
18
     counsel for the United States of America, and Rene L. Valladares, Federal Public Defender,
19
     and Robert E. O’Brien, Assistant Federal Public Defender, counsel for Austin James Aulicino,
20
     that the Revocation Hearing currently scheduled on June 10, 2020 , be vacated and continued
21
     to a date and time convenient to the Court, but no sooner than 120 days.
22
            This Stipulation is entered into for the following reasons:
23
            1.      Austin Aulicino is currently in substance abuse treatment at Las Vegas
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     Recovery Center.
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 1          2.      The parties would like to continue the supervised release revocation hearing for
 2   120 days to provide Mr. Aulicino the opportunity to complete his treatment before proceeding
 3   with the supervised release revocation hearing, if necessary.
 4          3.      The defendant is not in custody and agrees with the need for the continuance.
 5          4.      The parties agree to the continuance.
 6          This is the first request for a continuance of the revocation hearing.
 7          DATED this 8th day of June, 2020.
 8
 9    RENE L. VALLADARES                              NICHOLAS A. TRUTANICH
      Federal Public Defender                         United States Attorney
10
11
      By /s/ Robert E. O’Brien                        By /s/ Brian Y. Whang
12    ROBERT E. O’BRIEN                               BRIAN Y. WHANG
      Assistant Federal Public Defender               Assistant United States Attorney
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 1                              UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                          Case No. 2:17-cr-00393-APG-EJY
 4
                   Plaintiff,                           ORDER
 5
            v.
 6
     AUSTIN JAMES AULICINO,
 7
                   Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the revocation hearing currently scheduled for

11   Wednesday, June 10, 2020 at 11:00 a.m., be vacated and continued to October 8, 2020 at the

12   hour of 9:30 a.m. in Courtroom 6C; or to a time and date convenient to the court.

13          DATED this 9th day of June, 2020.

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                                                 UNITED STATES DISTRICT JUDGE
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